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                                                                               Jayce Brandt


                                                                               July 20, 2022


Honorable Judge Teeter
United States District Court
Re: Dawna Kellogg


Honorable Judge Teeter:

My name is Jayce Brandt, and I am the son of Dawna Kellogg. I am writing on behalf of
my mother to request leniency in her sentencing for the crimes of wire fraud and
subscribing to a false tax return.

My mother has admitted to her wrong-doing and deeply regrets her actions. This is her
first offense, and she has, until this time, been a productive and positive member of the
community. She has always been a self-reflective person and one that takes her
responsibilities very seriously. This was apparent in the care and passion she raised
both my sister and me. Her input led to both of us earning advanced degrees in our
fields and starting successful careers. Her moral support was instrumental in completing
my doctorates degree in Entomology and starting my career.

Currently, she is very involved in my nephew and niece’s lives and I have no doubt that
her influence will lead to similar successful young people. She plays an integral role in
their care by acting as a support for my sister and her husband. Both my sister and her
husband have demanding jobs that require them to find supplementary care for their
young children. My mother fulfills this role often and, I believe, better than most other
options. The children are extremely close to my mother and her care, support, and love
are important to their continued development in my opinion. My sister and I grew up in a
troubled home, but it was my mother’s love and support which allowed us to prosper
even through difficult situations.

I believe that these same traits will be a positive force in my sister’s children’s lives
should you show her leniency in her sentencing. Her care is vital to my sister and her
children’s lives. She is also a valued member of the community, and her warmth and
spirit would be missed dearly by all those in it. In this light, I humbly ask that you show
leniency in your sentencing in this matter.

Respectfully,

Jayce Brandt


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